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                                                  CL-15-3007-E
                                          CAUSE NUMBER ____________

               JULIA CASAS                                       §            IN THE COUNTY COURT
                                                                 §
                       Plaintiff,                                §
                                                                 §
               vs.                                               §            AT LAW NO. ______
                                                                 §
               ALLSTATE INSURANCE                                §
               COMPANY                                           §
                                                                 §
                       Defendant                                 §            HIDALGO COUNTY, TEXAS



                     PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE


               TO THE HONORABLE JUDGE OF SAID COURT:

                       NOW COMES, JULIA CASAS (hereinafter referred to as (“PLAINTIFF”), and

               files her first Original Petition against DEFENDANT, ALLSTATE INSURANCE

               COMPANY for cause of action and would respectfully show the Court the following:

                                                    I.       Discovery

                       Pursuant to Rule 47 of the Texas Rules of Civil Procedure, PLAINTIFF seeks

               damages of monetary relief of $75,000 or less and will not accept an award in excess

               thereof.

                                              II.        Service of Process

                       Defendant, ALLSTATE INSURANCE COMPANY, may be served with process

               by serving citation and a copy of this Original Petition by Certified Mail Return Receipt

               Requested on its agent for service CT CORPORATION SYSTEM AT 1999 BRYAN

               STREET, SUITE 900, DALLAS, TEXAS 75201-3136.




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                         ALLSTATE INSURANCE COMPANY is in the business of insurance in the

               State of Texas. The insurance business done by ALLSTATE INSURANCE COMPANY

               in Texas includes, but is not limited to the following:

                    1.      The making and issuing of contracts of insurance with the PLAINTIFF;

                    2.      The taking or receiving of application for insurance, including the

                            PLAINTIFF’S application for insurance;

                    3.      The receiving or collection of premiums, commissions, membership fees,

                            assessments, dues or other consideration for any insurance or any part

                            thereof, including any such consideration or payments from the

                            PLAINTIFF;

                    4.      The issuance or delivery of contracts of insurance to residents of this state or

                            a person authorized to do business in this state, including the PLAINTIFF;

                    5.      The adjusting and inspection of PLAINTFF’S insurance claims;

                    6.      Making insurance coverage decisions;

                    7.      Taking part in making insurance coverage decisions; and

                    8.      Making representations to PLAINTIFF as being an agent for an insurance

                            company with authority to make coverage decisions;

                                                 III. Jurisdiction and Venue

                      Venue of this action is proper in HIDALGO County, Texas because: the policy at

               issue was issued and delivered in HIDALGO County, Texas; the property insured is

               situated in HIDALGO County, Texas; PLAINTIFF’S losses occurred in HIDALGO

               County, Texas, and all or part of the events made the basis of this lawsuit and giving rise

               to PLAINTIFF claims and causes of action occurred in HIDALGO County, Texas.




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                                                    IV.       Facts

                      ALLSTATE INSURANCE COMPANY and/or its agents committed the actions

               alleged against PLAINTIFF in this complaint. PLAINTIFF owns the property located at:

               303 North 38 ½ Street, McAllen, Texas 78501; Policy# 829756217; Claim# 0366208197.

               ALLSTATE INSURANCE COMPANY provided coverage to the PLAINTIFF for such

               building, personal property, and other matters under ALLSTATE INSURANCE

               COMPANY Policy No. 829756217. During the term of said policy, PLAINTIFF

               sustained covered losses in the form of a hail/windstorm event on or about March 26,

               2015 in HIDALGO County, and water damages resulting there from, including damage

               to the architectural finishes of the property. PLAINTIFF promptly reported losses to

               ALLSTATE INSURANCE COMPANY pursuant to the terms of the insurance policy.

               As a result, PLAINTIFF property sustained damage, including the cost of destruction and

               restoration of the property necessary to access and fix the damaged areas. These are

               covered damages under PLAINTIFF’S insurance policy with ALLSTATE INSURANCE

               COMPANY. PLAINTIFF has been damaged in an amount in excess of the minimum

               jurisdictional limits of this Court, including injuries sustained as a result of having

               conduct business during the pendency of ALLSTATE INSURANCE COMPANY'S

               conduct.

                                             V.      Conditions Precedent

                      All notices and proofs of loss were timely and properly given to ALLSTATE

               INSURANCE COMPANY in such manner as to fully comply with the terms and

               conditions of the relevant insurance policies or other contracts and applicable law. More

               than sixty days prior to the filing of this suit, written demand for payment and notice of




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               complaint pursuant to Texas Insurance Code, section 541 and Business and Commerce

               Code section 17.505(a), was sent to ALLSTATE INSURANCE COMPANY. All of the

               conditions precedent to bring about this suit under the insurance policy has occurred.

               Despite the fact that all conditions precedent to PLAINTIFF’S recovery has been

               performed, ALLSTATE INSURANCE COMPANY has failed and refused to pay

               PLAINTIFF a just amount in accordance with their contractual obligations, agreements,

               and representations.

                                                VI. Breach of Contract

                              PLAINTIFF      purchased   an   insurance   policy   with   ALLSTATE

               INSURANCE COMPANY. PLAINTIFF’S property was damaged by hail/windstorm

               and water damage, of which are covered under the insurance policy.         ALLSTATE

               INSURANCE COMPANY has denied and/or delayed payment of PLAINTIFF’S covered

               claims. ALLSTATE INSURANCE COMPANY has no reasonable basis for denying,

               delaying, or failing to pay PLAINTIFF’S claims for damages. ALLSTATE

               INSURANCE COMPANY knew or should have known that there was no such

               reasonable basis to deny, delay, and fail to pay such claims. The conduct of ALLSTATE

               INSURANCE COMPANY was irresponsible, and unconscionable. ALLSTATE

               INSURANCE COMPANY took advantage of the PLAINTIFF’S lack of sophistication in

               insurance and construction matters to a grossly unfair degree. ALLSTATE INSURANCE

               COMPANY has, by its conduct, breached its contract with the PLAINTIFF. The conduct

               of ALLSTATE INSURANCE COMPANY has proximately caused the injuries and

               damages to the PLAINTIFF.

                                  VII.    Second Cause of Action: DTPA Violations




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                     PLAINTIFF is a consumers entitled to relief under the Texas Deceptive Trade

               Practices—Consumer Protection Act (“DTPA”). By its conduct outlined above,

               ALLSTATE INSURANCE COMPANY has engaged in the following violations of the

               DTPA which, together and separately, have been a producing cause of PLAINTIFF’S

               damages:

               (a)    ALLSTATE INSURANCE COMPANY made false representations about

                     PLAINTIFF’S rights, remedies and obligations under the policies at issue. These

                     statements were a misrepresentation of the insurance policies and their benefits in

                     violation of §§17.46(b)(5), (7), (12) and (14), Texas Business & Commerce Code;

               (b)   ALLSTATE INSURANCE COMPANY actions constitute an unconscionable

                     course of conduct entitling PLAINTIFF to relief under §17.50(a)(1), (2), (3), and

                     (4) of the Texas Business & Commerce Code;

               (c)   ALLSTATE INSURANCE COMPANY failed to disclose information to

                     PLAINTIFF concerning the nature and extent of their insurance policy which was

                     known by ALLSTATE INSURANCE COMPANY at the time for the purpose of

                     inducing PLAINTIFF into transactions which they would not have otherwise

                     entered in violation of section 17.46(b)(9) and (23), Texas Business and

                     Commerce Code;

               (d)   As described above, ALLSTATE INSURANCE COMPANY violated Chapter

                     541, Texas Insurance Code, entitling PLAINTIFF to relief under section

                     17.50(a)(4), Texas Business and Commerce Code.


                      ALLSTATE INSURANCE COMPANY took advantage of PLAINTIFF’S lack

               of knowledge in construction and insurance claims processes, misrepresented losses



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               covered under the insurance policy, and failed to disclose pertinent information regarding

               damages to the PLAINTIFF’S property.            ALLSTATE INSURANCE COMPANY’S

               conduct as described herein was a producing cause of damages to PLAINTIFF for which

               PLAINTIFF sues. The conduct of the ALLSTATE INSURANCE COMPANY was more

               than just a mistake, and was done “knowingly” and/or “intentionally” as that term is

               derived by statute. Because of that, ALLSTATE INSURANCE COMPANY may be

               subject to liability for additional damages under the Texas Deceptive Trade Practices Act.

               PLAINTIFF seeks an award of additional damages under the DTPA in an amount not to

               exceed three times the amount of economic damages.

                                              VIII.    Unfair Insurance Practices

                      ALLSTATE INSURANCE COMPANY failed to inform PLAINTIFF of material

               facts such as the true scope of damage and cost to repair. ALLSTATE INSURANCE

               COMPANY failed to properly process claims and have misrepresented material facts to

               the PLAINTIFF. ALLSTATE INSURANCE COMPANY has failed to address all

               damage to the property and its contents causing further damage to the PLAINTIFF.

               Further, ALLSTATE INSURANCE COMPANY has intentionally failed to fully

               investigate the loss; failed to properly convey all information to PLAINTIFF; and has

               intentionally ignored damages to the dwelling. PLAINTIFF’S property suffered from

               covered losses and damages of which ALLSTATE INSURANCE COMPANY is fully

               aware. ALLSTATE INSURANCE COMPANY has concealed damage known by it to

               exist. ALLSTATE INSURANCE COMPANY has known about covered hail/windstorm

               and water damages but has failed to perform proper testing and concealed facts from

               PLAINTIFF about the damages, ignoring PLAINTIFF’S pleas for help. ALLSTATE




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               INSURANCE COMPANY has failed to warn PLAINTIFF of consequential damage to

               their property.

                      By its conduct outlined above, ALLSTATE INSURANCE COMPANY

               committed unfair practices in the business of insurance prohibited by Chapter 541, Texas

               Insurance Code, and the statutes, rules and regulations incorporated therein. ALLSTATE

               INSURANCE COMPANY committed the following acts in violation of Texas Insurance

               Code and Texas Administrative Code:

               (1)    ALLSTATE INSURANCE COMPANY failed to, with good faith, effectuate a

                      prompt, fair, and equitable settlement of the PLAINTIFF’S claims once liability

                      became reasonable clear (Tex. Ins. Code Ann. 541.060(a)(2)(A); Tex. Ins. Code

                      Ann. 542.003(b)(4); 28 TAC section 21.203(4));

               (2)    ALLSTATE INSURANCE COMPANY failed to provide promptly to

                      PLAINTIFF a reasonable explanation of the basis in the policy, in relation to the

                      facts or applicable law, for denial of the claim or for the offer of a compromise

                      settlement of the claim (Tex. Ins. Code Ann. 541.060(a)(3); 28 TAC section

                      21.203(9));

               (3)    ALLSTATE INSURANCE COMPANY refused to pay a claim without

                      conducting a reasonable investigation with respect to that claim (Tex. Ins. Code

                      Ann. 541.060(a)(7); TAC section 21.203(15));

               (4)     ALLSTATE INSURANCE COMPANY breached its duty of good faith and fair

                      dealing at common law;

               (5)    ALLSTATE INSURANCE COMPANY failed to adopt and implement

                      reasonable standards for the prompt investigation of claims arising under the




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                     insurer’s policies (Tex. Ins. Code Ann. 542. 003(b)(3); 28 TAC section

                     21.203(3));

               (6)   ALLSTATE INSURANCE COMPANY compelled PLAINTIFF to institute a

                     suit to recover an amount due under a policy by offering substantially less than

                     the amount ultimately recovered in a suit brought by the policyholder (Tex. Ins.

                     Code Ann. 542.003(b)(5); 28 TAC section 21.203(6);

               (7)    ALLSTATE INSURANCE COMPANY violated the Prompt Payment of Claims

                     Statute (28 TAC section 21.203(18));

               (8)   ALLSTATE INSURANCE COMPANY committed the following unfair methods

                     of competition or deceptive acts or practices in the business of insurance in

                     violation of Texas Insurance Code and the Texas Administrative Code by:

                     (a)    ALLSTATE INSURANCE COMPANY made, issued or circulated or

                            caused to be made, issued or circulated an estimate, illustration, circular or

                            statement misrepresenting with respect to the policy issued or to be issued:

                            (i)    the terms of the policy; and/or

                            (ii)   the benefits or advantages promised by the policy.

                     (b)    ALLSTATE INSURANCE COMPANY made an untrue statement of

                            material fact (Tex. Ins. Code Ann. 541.060(a)(1); 28 TAC section

                            21.203(1));

                     (c)    ALLSTATE INSURANCE COMPANY failed to state a material fact

                            necessary to make other statements made not misleading considering the

                            circumstances under which statements were made; and




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                      (d)     ALLSTATE INSURANCE COMPANY made statements in a manner

                             that would mislead a reasonably prudent person to a false conclusion of

                             material fact.

                      (e)    Refusing, a settlement offer under applicable first-party coverage on the

                             basis that other coverage may be available or that third parties are

                             responsible for the damages suffered, except as may be specifically

                             provided in the policy (Tex. Ins. Code Ann 541.060(a)(5); 28 TAC section

                             21.203(11);

               ALLSTATE INSURANCE COMPANY’S conduct as described herein was a producing

               cause of damages to PLAINTIFF for which it sues.

                              IX.    Breach of the Duty of Good Faith and Fair Dealing

                      From and after the time the PLAINTIFF’S claims were presented to ALLSTATE

               INSURANCE COMPANY, liability to pay the claims in accordance with the terms of

               insurance policies referenced above has been reasonably clear. Despite there being no

               basis whatsoever on which a reasonable insurance company would have relied to deny

               and/or delay payment for PLAINTIFF’S claims, ALLSTATE INSURANCE COMPANY

               refused to accept the claims in totality and pay the PLAINTIFF as the policy required. At

               that time, ALLSTATE INSURANCE COMPANY knew or should have known by the

               exercise of reasonable diligence that their liability was reasonably clear. ALLSTATE

               INSURANCE COMPANY failed to conduct a reasonable and proper inspection of the

               claims and refused to rely on the true facts, resorting instead to producing faulty,

               incomplete and biased reasons to avoid paying a valid claim. This constitutes failing to

               handle or process the PLAINTIFF’S claims in good faith, an affirmative duty placed on




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               the Defendant, as expressly stated by the Texas Supreme Court in Vail v. Texas Farm

               Bureau Mutual Insurance Company 754 S.W.2d 129 at 135 (Tex. 1988). Through the

               actions described above, ALLSTATE INSURANCE COMPANY breached its duty to

               deal fairly and in good faith with the PLAINTIFF. ALLSTATE INSURANCE

               COMPANY’S breach was a proximate cause of the losses, expenses and damages

               suffered by the PLAINTIFF for which she sues.

                            X.      Texas Insurance Code 542, Subchapter B Delay in Payment

                      PLAINTIFF gave prompt notice of their claims to ALLSTATE INSURANCE

               COMPANY. ALLSTATE INSURANCE COMPANY has engaged in unfair settlement

               claims practices as discussed above and denied and/or has delayed payment on

               PLAINTIFF’S claim. ALLSTATE INSURANCE COMPANY’S reliance on reports and

               estimates from its adjusters and investigating adjusters has been “merely pretextual” and

               unreasonable. ALLSTATE INSURANCE COMPANY’S investigation and use of

               adjusters’ reports was an “outcome oriented investigation.". ALLSTATE INSURANCE

               COMPANY failed to comply with the requirements of Chapter 542 listed herein:



                      (a)        Failing to pay PLAINTIFF’S claim within 60 days of receiving all of the

                                 items, statements, and forms required by the insurer to secure final proof

                                 of loss, of the acceptance or rejection of a claim; and

                      (b)        Failing to request all of the items, statements and forms the Defendant

                                 reasonably believed at the time would be required from PLAINTIFF to

                                 pay the claim within 15 days after receiving notice of the claim.




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                      Pursuant to Texas Insurance Code Chapter 542, Subchapter B, PLAINTIFF is

               entitled to recover from ALLSTATE INSURANCE COMPANY the statutory penalty of

               18% per annum on all amounts due on PLAINTIFF’S claims, together with attorney’s

               fees, for which she sues.

                                                             XI.

                      PLAINTIFF alleges that as to any terms, conditions, notices, or requests under the

               insurance contract, PLAINTIFF has substantially complied and/or is excused. In the

               alternative, PLAINTIFF makes the allegation of waiver and/or estoppel as to every

               defense or exclusion plead by ALLSTATE INSURANCE COMPANY as to any

               exclusion, condition, or defense pled by ALLSTATE INSURANCE COMPANY,

               PLAINTIFF would show that:

                          1. The clear and unambiguous language of the policy provides coverage for

                              dwelling damage caused by hail/windstorm and water damage, including

                              the cost of access to fix the damaged areas. Any other construction of the

                              language of the policy is void as against public policy;

                          2. Any other construction and its use by ALLSTATE INSURANCE

                              COMPANY violates section 541 and 542 of the Texas Insurance Code

                              and are void as against public policy;

                          3. Any other construction violates Art. 17.50 of the Texas Business and

                              Commerce Code, is unconscionable, was procured by fraudulent

                              inducement, and is void as against public policy;

                          4. Any other construction is otherwise void as against public policy, illegal,

                              and volatiles state law and administrative rule and regulation;




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                          5. The adoption of any other construction constitutes wrongful or bad faith

                              cancellation and/or refusal to renew a portion of PLAINTIFF’S

                              predecessor policy with ALLSTATE INSURANCE COMPANY. In this

                              regard, PLAINTIFF would show that their insurance policy was renewed

                              uninterrupted for many years; and

                          6. The adoption of any other construction constitutes conduct in violation of

                              the laws of this state, including section 541 and 542 of Texas Insurance

                              Code is void as against public policy.


                      If this Court finds any ambiguity in the policy, the rules of construction of such

               policies mandate the construction and interpretation urged by PLAINTIFF. In the

               alternative, ALLSTATE INSURANCE COMPANY is judicially, administratively, or

               equitably estopped from denying PLAINTIFF’S construction of the policy coverage at

               issue. To the extent that the wording of such policy does not reflect the true intent of all

               parties thereto, PLAINTIFF pleads the doctrine of mutual mistake requiring reformation.



                                                    XII.    Damages

                      As a result of the conduct of DEFENDANT as set out above, PLAINTIFF seeks

               damages of monetary relief of $75,000 or less.

                                                           XIII.

                      WHEREFORE, PREMISES CONSIDERED, PLAINTIFF respectfully request

               this Honorable Court for the following relief: That upon final hearing and trial hereof,

               this Honorable Court grant to the PLAINTIFF such relief as to which they may show

               themselves justly entitled, either at law or in equity; either general or special, including



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               declaratory judgment, judgment against the Defendant for actual attorney’s fees, cost of

               suit, mental anguish, DTPA violations, Texas insurance code violations, statutory

               penalties, and prejudgment and post judgment interest, including judgment for additional

               damages and punitive damage under the facts set forth in this or any amended pleading in

               exceeding the minimal jurisdicted limits of the court.

                                                  IV.     Jury Demand

                      PLAINTIFF requests this Court empanel a jury to sit in the trial of this matter.

               The requisite jury fee will be paid as required by law.



                                             V.      Request for Disclosure

                      Under Texas Rule of Civil Procedure 194, PLAINTIFF requests that ALLSTATE

               INSURANCE COMPANY disclose, within 50 days of the service of this request, the

               information or material described in Texas Rule of Civil Procedure 194.




                                                                                 Respectfully submitted,

                                                                 V. GONZALEZ & ASSOCIATES, P.C.
                                                                                        121 N. 10th St.
                                                                               McAllen, Texas 78501
                                                                           Telephone: (956) 630-3266
                                                                            Facsimile: (956) 630-0383


                                                                               /s/ Krystal E. Garza
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                                                                                 State Bar No. 24091855
                                                                              krystal@vgonzalezlaw.com

                                                                         ATTORNEY FOR JULIA CASAS


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